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   1 Baruch C. Cohen, Esq. (SBN 159455)
     LAW OFFICE OF BARUCH C. COHEN
   2       A Professional Law Corporation
     4929 Wilshire Boulevard, Suite 940
   3 Los Angeles, California 90010
     (323) 937-4501 Fax (888) 316-6107
   4 e-mail: baruchcohen@baruchcohenesq.com

   5   Attorney for Plaintiff, KEYA MORGAN
   6

   7                         IN THE UNITED STATES DISTRICT COURT
   8                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
   9                            WESTERN DIVISION - LOS ANGELES
  10

  11
        KEYA MORGAN,                              USDC # 2:20-cv-04557-FMO-JPR
  12
                           Plaintiff,             Before the Honorable Fernando M. Olguin
  13
        vs.
  14
        AVATAR PRESS, INC., an Illinois           NOTICE OF MOTION AND MOTION
  15    corporation; RICH JOHNSTON, an            FOR LEAVE OF COURT TO
        individual; and DOES 1 through 10,        WITHDRAW AS COUNSEL FOR
  16    inclusive,                                PLAINTIFF; DECLARATION OF
                                                  BARUCH C. COHEN
  17                      Defendants.

  18                                              Date: 10-08-2020
                                                  Time: 10:00 am
  19                                              Place: 350 W 1st Street, Los Angeles, CA
                                                  Courtroom 6D
  20
                    TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR
  21
       THE CENTRAL DISTRICT OF CALIFORNIA:
  22
                    PLEASE TAKE NOTICE that, on 0-08-2020, or as soon thereafter as the
  23
       matter may be heard before the Honorable Fernando M. Olguin, United States
  24
       District Judge, Courtroom 6D, of the United States District Court for the Central
  25
       District of California, Western Division - Los Angeles, First Street U.S. Courthouse,
  26
       350 W 1st Street, Los Angeles, CA 90012-4565, Baruch C. Cohen, Esq.
  27
       (“Movant”), of the Law Office of Baruch C. Cohen, APLC, 4929 Wilshire
  28

       9/8-5:17pm
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   1   Boulevard, Suite 940, Los Angeles, California 90010, shall and hereby does
   2   respectfully seek leave of this Court, pursuant to LR-83-2.9.2.1 and in compliance
   3   with Cal. R. Prof. Conduct 3-700, now Rule 1.16 to withdraw as counsel for
   4   Plaintiff Keya Morgan (“Morgan”).
   5                Pursuant to LR-83-2.9.2.2, Individuals. When an attorney of record for any
   6   reason ceases to act for a party, such party shall appear pro se or appoint another
   7   attorney by a written substitution of attorney signed by the party and the attorneys.
   8                This Motion is based upon the grounds that irreconcilable differences have
   9   developed and now persist regarding, among other things, the relationship between
  10   Movant and Morgan (the exact nature of which is being withheld so as to ensure no
  11   undue prejudice), and the breakdown of the attorney-client relationship has
  12   deteriorated beyond the point of repair, such that Movant is no longer able to
  13   effectively represent Morgan’s interests.
  14                This Motion is based upon this Notice, the attached Memorandum of Points
  15   and Authorities and accompanying Declaration of Baruch C. Cohen, and such other
  16   evidence and argument as may be presented at the hearing on this Motion.
  17                Pursuant to LR-7-9, Each opposing party shall, not later than ten (10) days
  18   after service of the motion in the instance of a new trial motion and not later than
  19   twenty-one (21) days before the date designated for the hearing of the motion in all
  20   other instances, serve upon all other parties and file with the Clerk either (a) the
  21   evidence upon which the opposing party will rely in opposition to the motion and a
  22   brief but complete memorandum which shall contain a statement of all the reasons
  23   in opposition thereto and the points and authorities upon which the opposing party
  24   will rely, or (b) a written statement that that party will not oppose the motion.
  25   Evidence presented in all opposing papers shall comply with the requirements of
  26   L.R. 7-6, 7-7 and 7-8.
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       9/8-5:17pm
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   1                Pursuant to L.R. 7-12, failure to file and serve timely an appropriate
   2   opposition may be deemed by the Court to be consent to the granting of the relief
   3   requested in the Motion.
   4

   5   DATED:             September 8, 2020          LAW OFFICE OF BARUCH C. COHEN
                                                     A Professional Law Corporation
   6
                                                     By     /S/ Baruch C. Cohen
   7                                                       Baruch C. Cohen, Esq.
                                                     Attorney for Plaintiff, KEYA MORGAN
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   1   1.           MEMORANDUM OF POINTS AND AUTHORITIES
   2                a.    STATEMENT OF FACTS
   3                On 5-20-2020, Morgan commenced this action for copyright infringement
   4   and/or vicarious and/or contributory copyright infringement. Morgan’s counsel was
   5   Antonio Castillo, III, Esq, and Movant serving as co-counsel.
   6                Notwithstanding the status of the case, over the last few months,
   7   circumstances have substantially changed between the Movant and Morgan as to,
   8   among other things, irreconcilable differences have developed and now persist
   9   regarding, among other things, the relationship between Movant and Morgan (the
  10   exact nature of which is being withheld so as to ensure no undue prejudice), and the
  11   breakdown of the attorney-client relationship has deteriorated beyond the point of
  12   repair, such that Movant is no longer able to effectively represent Morgan’s interests
  13   in this action. Based thereon, Movant has good cause in seeking to withdraw from
  14   his representation of Morgan, and since the trial on this case has not been set yet, no
  15   prejudice will be inflicted on any party herein.
  16                Pursuant to Cal. R. Prof. Conduct 3-700, now Rule 1.16(b)(4), a lawyer may
  17   withdraw from representing a client if the client by other conduct renders it
  18   unreasonably difficult for the lawyer to carry out the representation effectively. That
  19   is the case here.
  20                Movant may withdraw as counsel with leave of Court as long as “written
  21   notice of this Motion is given reasonably in advance to the client and to all other
  22   parties who have appeared in the action.” This standard complies with California
  23   law, Code of Civil Procedure §284(2), and California Rules of Court, Rule
  24   3.1362(c) that provide that an attorney may be substituted in an action at any time
  25   before or after a judgment or final determination. In the matter at hand, Movant
  26   requests that he be allowed to withdraw as attorney of record at this point in time.
  27                On 7-7-2020, Movant provided Morgan advance notice of this Motion, sent
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       9/8-5:17pm
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   1   him a Substitution of Attorney Form for his signature, and he refused to sign it.
   2         Due to various circumstances, the nature and extent of which have not been
   3   detailed herein but can be disclosed in chambers should the court require it, the
   4   attorney-client relationship between Movant and Morgan has broken down
   5   irreparably such that Morgan should and must obtain alternative counsel
   6   immediately.
   7         b.     CONCLUSION
   8         For the foregoing reasons, Movant respectfully requests that this Court grant
   9   the within Motion and issue an Order allowing Movant to withdraw as Morgan’s
  10   attorney of record in the this adversary immediately.
  11

  12   DATED:       September 8, 2020         LAW OFFICE OF BARUCH C. COHEN
                                              A Professional Law Corporation
  13
                                              By     /S/ Baruch C. Cohen
  14                                                Baruch C. Cohen, Esq.
                                              Attorney for Plaintiff, KEYA MORGAN
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   1                     DECLARATION OF BARUCH C. COHEN
   2        I, BARUCH C. COHEN, declare and state as follows:
   3   1.   The facts stated below are true and correct to the best of my personal
   4        knowledge and if called upon to testify to them, I could and would
   5        competently do so.
   6   2.   I am a member in good standing and eligible to practice before the following
   7        courts: California State Supreme Court; United States Court of Appeals -
   8        Ninth Circuit; Bankruptcy Appellate Panel; United States District Courts:
   9        Central District of California; Eastern District of California; Northern District
  10        of California; and Southern District of California.
  11   3.   I am the principal shareholder and President of The Law Office of Baruch C.
  12        Cohen, a Professional Law Corporation, located at 4929 Wilshire Boulevard,
  13        Suite 940, Los Angeles, California 90010.
  14   4.   I represent Plaintiff Keya Morgan, along with my co-counsel Antonio Castillo
  15        III, Esq..
  16   5.   This declaration is in support of MOTION TO WITHDRAW AS COUNSEL
  17        OF RECORD for Plaintiff Keya Morgan.
  18   6.   Notwithstanding the status of the case, over the last few months,
  19        circumstances have substantially changed between the Movant and Morgan as
  20        to, among other things, irreconcilable differences have developed and now
  21        persist regarding, among other things, the relationship between Movant and
  22        Morgan (the exact nature of which is being withheld so as to ensure no undue
  23        prejudice), and the breakdown of the attorney-client relationship has
  24        deteriorated beyond the point of repair, such that Movant is no longer able to
  25        effectively represent Morgan’s interests in this action. Based thereon, Movant
  26        has good cause in seeking to withdraw from his representation of Morgan,
  27        and since the trial on this case has not been set yet, no prejudice will be
  28        inflicted on any party herein.
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   1   7.    On 7-7-2020, we provided Morgan advance notice of this Motion, sent him a
   2         Substitution of Attorney Form for his signature, and he refused to sign it.
   3   8.    For the foregoing reasons, I respectfully request that this Court grant the
   4         within Motion and issue an Order allowing me to withdraw as Morgan’s
   5         attorney of record in this adversary immediately.
   6

   7         I declare under penalty of perjury under the laws of the State of California
   8   that the foregoing is true and correct.
   9         Executed September 8, 2020, at Los Angeles, California.
  10
                                        By       /S/ Baruch C. Cohen
  11                                                  Baruch C. Cohen
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   1                             CERTIFICATE OF SERVICE
   2        I declare that I am a citizen of the United States and I am a resident and
     employed
   3 in Los Angeles, California; that my business address is 4929 Wilshire Boulevard,
     Suite 940
   4 Los Angeles, California 90010; that I am over the age of 18 and not a party to the
     above-entitled
   5 action.

   6        I am employed by a member of the United States District Court for the
     Central
   7 District of California, and at whose direction I caused service of the foregoing
     document
   8 entitled NOTICE OF MOTION AND MOTION FOR LEAVE OF COURT TO
     WITHDRAW AS COUNSEL FOR PLAINTIFF; DECLARATION OF
   9 BARUCH C. COHEN on all interested parties in this action by the method
     indicated below at the address stated below:
  10

  11 Keya Morgan                                      Antonio Castillo III, Esq. (SBN
     P.O. Box 18447                                   276891)
  12 Beverly Hills, CA 90209                          CASTILLO LAW
     Morgan1776@aol.com                               5410 Rhodes Ave, 101
  13 Plaintiff                                        Valley Village, CA 91607
                                                      antonio.castillo3@gmail.com
  14                                                  Co-Counsel for Plaintiff, KEYA
                                                      MORGAN
  15
     AVATAR PRESS , INC.
  16 Chad S. Beckett
     508 S BROADWAY AVE
  17 URBANA, IL 61801
     Defendant
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  19
       [X]   BY ELECTRONIC TRANSMISSION: by electronically filing the
  20         foregoing with the Clerk of the District Court using its CM/ECF System
             pursuant to the Electronic Case Filing provision of the United States District
  21         Court General Order and the E-Government Act of 2002, which electronically
             notifies all parties in this case. A pdf version of this document was also
  22         transmitted to counsel via electronic mail at the mail address indicated above.
  23        I declare under penalty of perjury under the laws of the United States of
     America that
  24 the foregoing is true and correct. Executed on September 8, 2020 at Los Angeles,
     California.
  25
       By: /s/ Baruch C. Cohen
  26   Baruch C. Cohen
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